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 16-CAN 04/18) Ju
                udgment in Criminal Case


               UNITED
                    D STATE
                          ES DISTR
                                 RICT COURT
                         Nortthern Disstrict of C
                                                Californiia
ED STATES S OF AMERRICA                           ) JUD
                                                      DGMENT IN
                                                              N A CRIMIINAL CASE
                                                                               E
         v.                                       )
   Kevin Cu
          ullinane                                )     USDC C Case Numbeer: CR-14-00534-003 CRB
                                                  )     BOP Case Number: DCAN314CR       R00534-003
                                                  )     USM Number: 246602-111
                                                  )     Defenndant’s Attorneey: Doron Weeinberg (Retainned)


NT:
y to count: 1 off the Indictmen
                              nt.
 contendere to count(s):
                c          _____
                               ______ which was accepted bby the court.
 ilty on count(s)): ___________ after a plea off not guilty.

djudicated guiltty of these offeenses:
             Na ature of Offen nse                                                     Offfense Ended          Count
             Biid Rigging                                                              Jannuary 11, 2011       1


ntenced as prov
              vided in pages 2 through 7 of this judgm
                                                     ment. The sentennce is imposedd pursuant to thhe Sentencing
4.

t has been foun
              nd not guilty on
                             n count(s): ___
                                           ________
_______ is/aree dismissed on the motion of the United Staates.

hat the defendaant must notiffy the United States attorneyy for this disttrict within 300 days of any change of nam     me,
 address until all
               a fines, restitu
                              ution, costs, an
                                             nd special assesssments imposed by this judggment are fullyy paid. If ordeered
 defendant musst notify the court and United d States attorneey of material cchanges in econnomic circumsstances.

                                                      5/8/20188
                                                      Date of Imposition of Judgment


                                                      Signaturre of Judge
                                                      The Honnorable Charlees R. Breyer
                                                      Senior U
                                                             United States D
                                                                           District Judge
                                                      Name & Title of Judgee

                                                      5/15/20118
                                                      Date
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AO 245B (Rev. AO 11/16-CAN 04/18) Judgment in Criminal Case
DEFENDANT: Kevin B Cullinane                                                                                   Judgment - Page 2 of 7
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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        Eight (8) months.

The appearance bond is hereby exonerated, or upon surrender of the defendant as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Affidavit of Owner of Cash Security form on file in the Clerk's Office.

      The Court makes the following recommendations to the Bureau of Prisons:
      To be housed at a camp facility as close to the San Francisco Bay Area as possible.
      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
             at __________ am/pm on ____________ (no later than 2:00 pm).

             as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             on 7/9/2018 (no later than 2:00 pm).

             as notified by the United States Marshal.

             as notified by the Probation or Pretrial Services Office.




                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on ______________________________ to _______________________________________ at
         ________________________________________ , with a certified copy of this judgment.




                                                                                       UNITED STATES MARSHAL

                                                                 By
                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. AO 11/16-CAN 04/18) Judgment in Criminal Case
DEFENDANT: Kevin B Cullinane                                                                                 Judgment - Page 3 of 7
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Three (3) years.

                                     MANDATORY CONDITIONS OF SUPERVISION

1)    You must not commit another federal, state or local crime.
2)    You must not unlawfully possess a controlled substance.
3)    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
4)         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5)         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6)         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7)         You must participate in an approved program for domestic violence. (check if applicable)
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DEFENDANT: Kevin B Cullinane                                                                                    Judgment - Page 4 of 7
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         RELEASE, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2)       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)       You must follow the instructions of the probation officer related to the conditions of supervision.
4)       You must answer truthfully the questions asked by your probation officer.
5)       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).


         If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
         person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
         that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.



(Signed)
              Defendant                                                         Date


              U.S. Probation Officer/Designated                                 Date
              Witness
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DEFENDANT: Kevin B Cullinane                                                          Judgment - Page 5 of 7
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                                         SPECIAL CONDITIONS OF SUPERVISION



    1. You shall perform 800 hours of community service at a homeless shelter, as directed by the probation
       officer.

    2. You shall pay any restitution, fine and special assessment that is imposed by this judgment and that
       remains unpaid at the commencement of the term of probation.

    3. You shall not own or possess any firearms, ammunition, destructive devices, or other dangerous
       weapons.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                 Assessment                   JVTA Assessment*                        Fine                    Restitution
TOTALS                                              $ 100                         Waived                           $ 500,000                To Be Determined



      The determination of restitution is deferred until 6/1/18. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
Name of Payee                                        Total Loss                         Restitution Ordered                      Priority or Percentage




TOTALS                                                  $ 0.00                                     $ 0.00


       Restitution amount ordered pursuant to plea agreement $ __________
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the fine/restitution.
               the interest requirement is waived for the fine/restitution is modified as follows:
               __________




* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of _______$500,100______________ due immediately, balance due

                        not later than __________ , or
                        in accordance with        C,                  D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or
E              Payment during the term of supervised release will commence within __________ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:
               The monetary penalties must be paid in one lump sum no later than 15 days from entry of judgment. Any established
               payment plan does not preclude enforcement efforts by the US Attorney's Office if the defendant has the ability to pay
               more than the minimum due. Payments shall be made to the Clerk of U.S. District Court, Attention: Financial Unit, 450
               Golden Gate Ave., Box 36060, San Francisco, CA 94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s): __________

       The defendant shall forfeit the defendant’s interest in the following property to the United States:

       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
       part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
       defendant’s responsibility for the full amount of the restitution ordered.





 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
